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                               Exhibit 22



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Vladeck, Ph.D., Bruce C.                                          May 4, 2007
                      New York, NY

                                                                              Page 1
              UNITED STATES DISTRICT COURT

         FOR THE DISTRICT OF MASSACHUSETTS

   -----------------------------------X       MDL NO. 1456

   IN RE:    PHARMACEUTICAL INDUSTRY      :   CIVIL ACTION:

   AVERAGE WHOLESALE PRICE LITIGATION :       01-CV-12257-PBS

   -----------------------------------X

   THIS DOCUMENT RELATES TO:              :

   U.S. ex rel. Ven-A-Care of the         :   CIVIL ACTION:

   Florida Keys, Inc. v. Abbott           :   06-CV-11337-PBS

   Laboratories, Inc.                     :

   -----------------------------------X



                IN THE CIRCUIT COURT OF

              MONTGOMERY COUNTY, ALABAMA

   -----------------------------------X

   STATE OF ALABAMA,                      :   CASE NO.

               Plaintiff,                 :   CV-05-219

        v.                                :

   ABBOTT LABORATORIES, INC.,             :   JUDGE

   et al.,                                :   CHARLES PRICE

               Defendants.                :

   -----------------------------------X




                        Henderson Legal Services
                              202-220-4158

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Vladeck, Ph.D., Bruce C.                                                                                    May 4, 2007
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                                                        Page 2                                                               Page 4
 1   STATE OF WISCONSIN CIRCUIT COURT DANE COUNTY                  1     IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
 2   -----------------------------------X                          2                  STATE OF MISSOURI
 3   STATE OF WISCONSIN,                    : CASE NO.             3   - - - - - - - - - - - - - - - - - -x
 4           Plaintiff,           : 04-CV-1709                     4   STATE OF MISSOURI, ex rel.,                     :
 5       v.                     :                                  5   JEREMIAH W. (JAY) NIXON,                          :
 6   AMGEN INC., et al.,                  :                        6   Attorney General,                       :
 7           Defendants.             :                             7   and                              :
 8   -----------------------------------X                          8   MISSOURI DEPARTMENT OF SOCIAL                            :
 9                                                                 9   SERVICES, DIVISION OF MEDICAL                         : Case No.:
10            IN THE COURT OF COMMON PLEAS                        10   SERVICES,                              : 054-1216
11              FIFTH JUDICIAL CIRCUIT                            11                 Plaintiffs,          : Division
12   -----------------------------------X                         12                                 : No. 31
13   STATE OF SOUTH CAROLINA, and                 : STATE OF      13            vs.                   :
14   HENRY D. McMASTER, in his official : SOUTH CAROLINA          14   DEY INC., DEY, L.P., MERCK KGaA, :
15   capacity as Attorney General for : COUNTY OF                 15   EMD, INC., WARRICK                            :
16   the State of South Carolina,         : RICHLAND              16   PHARMACEUTICALS CORPORATION,                               :
17           Plaintiff,           :                               17   SCHERING-PLOUGH CORPORATION, and :
18       v.                     : CIVIL ACTION:                   18   SCHERING CORPORATION,                               :
19   MYLAN LABORATORIES, INC.                   : 07-CP-40-0283   19                 Defendants.            :
20           Defendant.              :                            20   - - - - - - - - - - - - - - - - - -x
21   -----------------------------------X                         21
22                                                                22
                                                        Page 3                                                               Page 5
 1      IN THE COURT OF THE SECOND JUDICIAL CIRCUIT     1                               New York, New York
 2            IN AND FOR LEON COUNTY, FLORIDA           2                               Friday, May 4, 2007
 3   THE STATE OF FLORIDA                               3
 4   ex rel.                                            4
 5   - - - - - - - - - - - - - - - - - -x               5                     Videotaped Deposition of BRUCE C.
 6   VEN-A-CARE OF THE FLORIDA                       :  6              VLADECK, Ph.D., a witness herein, called for
 7   KEYS, INC., a Florida                   :          7              examination by counsel for Abbott Laboratories in
 8   Corporation, by and through its :                  8              the above-entitled matter, pursuant to Subpoena,
 9   principal officers and directors, :                9              the witness being duly sworn by JOMANNA DEROSA, a
10   ZACHARY T. BENTLEY and                        :   10              Notary Public in and for New York, taken at the
11   T. MARK JONES,                           :        11              offices of Jones Day, 222 East 41st Street, New
12                 Plaintiffs,         :               12              York, New York, at 8:38 a.m. on Friday, May 4,
13            vs.                   : Civil Action     13              2007, and the proceedings being taken down by
14   MYLAN LABORATORIES, INC.; MYLAN : No.: 98-3032G 14                Stenotype by JOMANNA DEROSA, and transcribed under
15   PHARMACEUTICALS INC.; NOVOPHARM : Judge:          15              her direction.
16   LTD., SCHEIN PHARMACEUTICAL, INC.; : William L.   16
17   TEVA PHARMACEUTICAL INDUSTRIES : Gary             17
18   LTD., TEVA PHARMACEUTICAL USA; :                  18
19   and WATSON PHARMACEUTICALS, INC. :                19
20                 Defendants.            :            20
21   - - - - - - - - - - - - - - - - - -x              21
22                                                     22

                                                                                                       2 (Pages 2 to 5)
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Vladeck, Ph.D., Bruce C.                                                                  May 4, 2007
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                                               Page 30                                                  Page 32
 1   needs to introduce themselves for the record?        1   sent a deposition notice and subpoena for -- for
 2         MR. RORTVEDT: This is Victor Rortvedt,         2   Dr. Vladeck, and he appeared and -- and not only
 3   for Endel.                                           3   appeared, we did not send a 30(b)(6) notice to
 4         THE VIDEOGRAPHER: Anybody else?                4   him.
 5         MS. BROOKER: Is there anyone else new          5          MS. BROOKER: Okay. Thank you.
 6   on the phone call who hasn't introduced              6          MR. AZORSKY: And also, let me speak
 7   themselves?                                          7   for the record that -- I'm speaking specifically
 8         THE VIDEOGRAPHER: Okay. Will the               8   now with relation to the Florida case.
 9   reporter please swear in the witness.                9          Insofar as this deposition is cross-
10         MS. BROOKER: Well, I'm sorry.                 10   noticed in the Florida case and no documents have
11         THE VIDEOGRAPHER: Oh, keep going.             11   been produced by the defendants in that case
12         MS. BROOKER: A couple of matters. I           12   personally to properly serve the request for
13   just wanted to -- to make this easy for everyone.   13   production of documents, the plaintiffs in that
14   Do you want to have an agreement that if there is   14   case object to the introduction and use of any
15   an objection to form or any questions at the        15   exhibits at this deposition, and reserve the
16   deposition --                                       16   right to strike any testimony based upon such
17         MR. COOK: One will do.                        17   exhibits as may be used in this deposition.
18         MS. BROOKER: One will do. It's                18          MR. COOK: And if I could ask the
19   preserved with respect to all others.               19   Department of Justice, if this deposition needs
20         MR. COOK: That is my first two bullet         20   to be retaken because of objections that are
21   points.                                             21   being asserted by the plaintiffs, will the
22         MS. BROOKER: Okay. The second thing           22   government assert objections to Mr. Vladeck
                                               Page 31                                                  Page 33
 1   is, do you also want to agree that if it's a form    1   testifying again?
 2   objection, it's sufficient to say "objection,        2          MS. BROOKER: We'll take it under
 3   form" to preserve the objection?                     3   consideration.
 4           MR. COOK: Yes.                               4          MR. COOK: And so, there's a
 5           MS. BROOKER: Okay.                           5   possibility that the plaintiffs' objection would
 6           MR. COOK: And I'll -- and I'll ask, if       6   result in Dr. Vladeck's testimony never being
 7   -- if -- if I have a question, to see whether        7   placed into the Florida case.
 8   it's curable.                                        8          MS. BROOKER: Well, I think we're
 9           MS. BROOKER: Okay. One other thing I         9   premature on -- on this, but --
10   wanted to cover. I just wanted it to be very        10          MR. COOK: Okay.
11   clear at the outset of the deposition, and to       11          MS. BROOKER: -- we'll -- we'll --
12   state on the record that Dr. Vladeck is here in     12   we'll consider that.
13   his capacity as a former HCFA administrator.        13          Chris, did you have anything else
14   He's not here in his personal capacity. He is       14   before we start?
15   certainly not here on behalf of the agency as a     15          MR. COOK: No.
16   corporate designee. He's not speaking on behalf     16          MS. BROOKER: I think we can swear the
17   of the agency, and he's not here as an expert       17   witness.
18   witness to express his opinion.                     18          THE VIDEOGRAPHER: Just -- just -- just
19           So, I -- I just wanted to state that at     19   a reminder to people on the conference phone, now
20   the outset.                                         20   that we finished introductions, please put your
21           MR. COOK: Yes. I don't know what all        21   phones on mute.
22   the consequences of that are, but we certainly      22
                                                                                   9 (Pages 30 to 33)
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                                           Page 138                                                  Page 140
 1      A. No.                                          1       A. No. I would -- I would say that most
 2      Q. You'll notice that in 1989, one of your      2   of my focus in that period of time was on brand
 3   predecessors, Acting Administrator Hays, referred  3   name drugs, that the issues we were most
 4   to average wholesale price as a sticker price, as  4   concerned about, in terms of Medicare drug
 5   did Secretary Shalala in 1997, and President       5   payments and drug policies primarily involved
 6   Clinton again in 1997.                             6   brand name drugs.
 7          While you were administrator of HCFA        7          And out of naivete, or for whatever
 8   between 1993 and 1997, did you understand average 8    reason, I believe that the -- the market for
 9   wholesale price to be the sticker price for        9   generic was more truly competitive in that
10   drugs?                                            10   transaction prices in the market were probably
11          MS. BROOKER: Objection. Form.              11   more constrained or limited than they were for --
12      A. That would have been one of the             12   for brand name drugs.
13   metaphors or analogies we used to describe it,    13       Q. How do you mean that the prices in the
14   yes.                                              14   marketplace would be constrained or limited for
15      Q. Turning to Exhibit Abbott 156, the          15   generics?
16   radio address by President Clinton, is there any  16       A. Just in the sense of classic economic
17   aspect of President Clinton's statement that I've 17   theory, in which a patent creates a monopoly
18   read into the record with which you disagree?     18   pricing power on the part of the patent holder
19          MR. BREEN: Objection. Form.                19   that essentially permits substantially greater
20          MS. BROOKER: Objection. Form.              20   latitude or discretion in setting the price.
21      A. The -- had I been engaged in the            21   Whereas a product that has identical competitors
22   process of preparing this speech or whatever, the 22   in the market, producers, would have less freedom
                                           Page 139                                                  Page 141
 1   sentence on the -- that concludes the paragraph    1   to unilaterally change their price or certainly
 2   carrying over on to Page 2, "in fact, some pay     2   to unilaterally raise their prices.
 3   just one-tenth of the published price," I would    3       Q. So, let's step back and address first
 4   have raised concerns about because I would not     4   brand name drugs, and then -- and then generic
 5   have been aware, at the time, of any gap between   5   drugs.
 6   actual acquisition cost and AWP and the compendia 6           What was your understanding, in 1997,
 7   of -- of that magnitude.                           7   of the relationship between published average
 8       Q. So, it's your recollection that as of       8   wholesale price and prices within the marketplace
 9   December 1997, you personally were not aware of a 9    for brand name drugs?
10   gap of one to ten between provider acquisition    10          MS. BROOKER: Objection. Form.
11   cost and published average wholesale price?       11       A. My understanding, which I think is
12       A. That's correct. My understanding at        12   consistent with, for example, the Secretary's
13   the time was that there was not a constant, but a 13   response in the exhibit we just discussed a few
14   pretty systematic spread of the kind one might    14   minutes ago, is that average wholesale price was
15   find in the apparel or automobile industries      15   an -- almost literally, a list price. That is to
16   between sticker or list price and the price to    16   say, a price prepared for public consumption and
17   the -- the final seller.                          17   public dissemination by the manufacturers, and
18       Q. And when you described your                18   that their general industry practice meant that
19   understanding of the difference between           19   the manufacturers actually provided that product
20   acquisition cost and published average wholesale  20   to the pharmacist or physicians, whoever was
21   prices, did you distinguish, in your mind, in     21   selling it, at some discount, which we estimated
22   1997, between brand name drugs and generic drugs? 22   averaged between 15 and 20 percent.
                                                                             36 (Pages 138 to 141)
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                                            Page 154                                                    Page 156
 1          MS. BROOKER: Objection. Form.               1            MS. BROOKER: Objection. Form.
 2          MR. COOK: That's a bad question. I can      2        A. Absolutely.
 3   ask a better question.                             3        Q. And so, it would certainly be possible
 4       Q. What did you mean when you said that        4     that for one drug there would be a different
 5   you understood that there was, on average, a       5     variation in a different range of market prices
 6   percentage difference between AWP and the price    6     than for another drug.
 7   to providers?                                      7            Right?
 8       A. Again, I would have been very much          8            MR. BREEN: Objection. Form.
 9   influenced by my perception of the relationship    9        A. Again, to the extent I was -- you know,
10   of sticker price to transaction prices in other   10     I was thinking about these issues in this detail,
11   sectors or other industries. And, again, it was   11     I would say that at the time, my perception was
12   my belief that, on average, the actual            12     there was a pretty standard relationship between
13   acquisition price for brand drugs was somewhere   13     AWP and average prices in the market. I could
14   in the range of 15 percent below average          14     have -- had you posed that question then, I
15   wholesale price, as we understood it, but that,   15     probably could have envisioned particular drugs
16   again, the buyers or the providers with the least 16     that might have been different, but that was not
17   market power were probably paying amounts closest 17     how I understood the issue at the time, I don't
18   to the average wholesale price, and that the most 18     believe.
19   powerful purchasers might well be paying less     19        Q. And, again, we're talking about brand
20   than 85 percent or so of the -- of the average    20     name drugs. Correct?
21   wholesale price.                                  21        A. That's correct.
22       Q. And so, your understanding, do I have      22            MR. COOK: I'd like to show you a
                                            Page 155                                                    Page 157
 1   it correct, is that for a single drug, there         1   couple of OIG reports that may be among the ones
 2   would be variation among providers in their          2   you've seen already.
 3   acquisition cost. Correct?                           3         The first comes from 1992, just before
 4          MS. BROOKER: Objection. Form.                 4   you were administrator of -- of HCFA. It's been
 5       A. That is correct.                              5   marked in the past as Exhibit Abbott 082.
 6       Q. Was it your understanding also that for       6         And for the record, this is a report,
 7   different drugs, the variations between              7   with an accompanying cover memo, dated October
 8   acquisition cost and AWP wouldn't necessarily be     8   20, 1992. It's from Bryan B. Mitchell, Principal
 9   the same?                                            9   Deputy Inspector General to William Toby, Jr.,
10          MS. BROOKER: Objection. Form.                10   who was the acting administrator of HCFA.
11       A. I think my perception was -- and,            11         Do I recall correctly that William Toby
12   again, to the extent I spent a lot of time          12   immediately preceded you as the acting
13   thinking about it or whatever, that the -- the      13   administrator of HCFA?
14   differential between average market price or        14      A. That is correct.
15   average acquisition price on the one hand and       15      Q. The subject, as described on the cover
16   average wholesale price on the other was probably   16   page, the third page of the exhibit you have, is
17   pretty standard, pretty constant, pretty uniform    17   "Cost of Dialysis Related Drugs" and indicates a
18   across drugs would have been my understanding at    18   date of October 1992.
19   the time.                                           19         Do you recall ever seeing this report
20       Q. But you would agree with me that             20   before, Dr. Vladeck?
21   different drugs might have different markets and    21      A. I don't believe I have.
22   different purchasers?                               22      Q. This would have been before your time.
                                                                               40 (Pages 154 to 157)
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